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IN THE UN|TED STATES D|STR|CT COURT
WESTERN DlSTRlCT OF TENNESSEE

 

JOHN G. MONTAGUE and his wife,
GWENDOLYN W. MONTAGUE,

Plaintiffs,
vs. NO. 2:09-cv-2452-DV

PAC|F|C lNDENlNITY COMPANY,

Defendant.

 

NOTICE OF SETTLEMENT

 

COMES NOW the Plaintiffs, John G. l\/lontague and his Wife, Gwendolyn W.
Montague, by and through their undersigned attorney of record and pursuant to the
Federal Rules of Civil Procedure and Local Rule 83.8(a), and notify the Court that all the
claims of the_Plaintiffs John G. |Vlontague and his wife, Gwendolyn W. |Vlontague, have
been compromised and settled. A Consent Order of Dismissal with Prejudice Will be

entered upon approval by all parties of same.

Respectl’ul|y submitted,
LAW OFFlCE OF JOHN B. BARTELS

By: sl John B. Bartels
John B. Barte|s (BPR#OZOSOS)
Attorney for Plaintiffs

5100 Poplar Ave., Suite 2100
lVlemphis, Tennessee 38137
(901) 767-8500

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§RT|F|QATE OF SERV|CE

l hereby certify that a true and accurate copy of the foregoing document has
been served upon via electronic filing:

lVlr. DeVVitt Shy, Jr.

Attorney for Defendant, Pacific indemnity Company
130 North Court Avenue

Memphis, Tennessee 38103

lVlr. John R. NlcCann

Attorney for Defendant, Pacific indemnity Company
130 North Court Avenue

Memphis, Tennessee 38103

Thisthe 1333 day of""“t;c,*f»©\<>e» ,2009.

By: sl John B. Bartels

